                                  EXHIBIT B


16-23623-   Jessica Peluso   13      09/28/16   N/A   N/A
TPA

16-24487-   Jack E.          13      12/02/16   N/A   N/A
CMB         Waggoner
            and Misty J.
            Waggoner

16-24625-   Laureen A.       13      12/14/16   N/A   N/A
GLT         Santoro

17-10062-   Joseph M.        13      01/26/17   N/A   N/A
TPA         Pruchniewski
            and
            JenniferPruch
            niewski

17-10077-   James A.         13      01/30/17   N/A   N/A
TPA         Ruvolo and
            Trudy Ruvolo

17-10145-   Justin C.        13      02/14/17   N/A   N/A
TPA         Patterson and
            Lawrence J.
            Zock, Jr.

17-10346-   Kenny E.         13      04/05/17   N/A   N/A
TPA         Morrow and
            Tammy L.
            Morrow

17-10362-   Judy D.          13      04/10/17   N/A   N/A
TPA         Stanley

17-10477-   Terry D.         13      05/08/17   N/A   N/A
TPA         Wenner and
            Janice C.
            Wenner

17-10588-   Bret A.          13      06/05/17   N/A   N/A
TPA         Weaver

17-10820-   Ralph L.      13         08/08/17   N/A   N/A
TPA         McKinney, Jr.
            and Erin A.
            McKinney

17-10956-   William J.      13   09/12/17   N/A   N/A
TPA         Venesky

17-10957-   Karen J.        13   09/12/17   N/A   N/A
TPA         McNatt

17-11072-   Gary L.         13   10/10/17   N/A   N/A
TPA         Williamson
            and Pamela J.
            Williamson

17-11138-   Adam C.         13   10/26/17   N/A   N/A
TPA         McDivitt

17-11139-   Nicole R.       13   10/26/17   N/A   N/A
TPA         Wilson

17-11252-   Rowena V.       13   11/28/17   N/A   N/A
TPA         Wagner

17-11354-   Justin M.       13   12/27/17   N/A   N/A
TPA         Ross

17-20116-   Hilary W.       13   01/12/17   N/A   N/A
CMB         Taylor

17-21245-   Kenneth L.      13   03/30/17   N/A   N/A
TPA         Moore

17-21266-   Maria G.        13   03/31/17   N/A   N/A
JAD         Ranallo

17-21476-   Michele L.      13   04/11/17   N/A   N/A
CMB         Melinchak

17-21727-   Linnea A.       13   04/26/17   N/A   N/A
JAD         Sherman

17-22599-   Diane M.        13   06/26/17   N/A   N/A
CMB         Rusch

17-22890-   Jason A.        13   07/17/17   N/A   N/A
CMB         Zimmerman
17-22924-   Krista L.      13   07/19/17   N/A   N/A
GLT         Rapp

17-22929-   Nicole R.      13   07/19/17   N/A   N/A
GLT         Tomasic

17-24096-   Teresa R.      13   10/12/17   N/A   N/A
GLT         Teets

17-24197-   Dariyn J.      13   10/20/17   N/A   N/A
JAD         Peluso

17-24251-   Vera B.        13   10/25/17   N/A   N/A
GLT         McManis

17-24285-   William J.     13   10/27/17   N/A   N/A
GLT         Veverka

17-24341-   Derrick A.     13   10/31/17   N/A   N/A
GLT         Parady

17-24644-   Michael F.     13   11/17/17   N/A   N/A
CMB         McNamara

17-24762-   Michael L.     13   11/28/17   N/A   N/A
GLT         Silva and
            Diane C.
            Silva

17-24837-   Eric H.        13   11/30/17   N/A   N/A
GLT         Rogalsky and
            Judith A.
            Rogalsky

17-25128-   Thien T.       13   12/28/17   N/A   N/A
CMB         Truong

17-70663-   Thomas J.      13   09/08/17   N/A   N/A
JAD         Wagner and
            Jamie S.
            Wagner

18-10034-   Sarah L.       13   01/16/18   N/A   N/A
TPA         Smith

18-10410-   Phillip A.     13   04/30/18   N/A   N/A
TPA         Wahler and
            Denise A.
            Wahler

18-10899-   Larry P.         13   09/04/18   N/A   N/A
TPA         Newberry and
            Cathleen A.
            Newberry

18-10931-   Gregory S.       13   09/13/18   N/A   N/A
TPA         Mayle

18-11127-   Allen A.         13   10/31/18   N/A   N/A
TPA         Oswalt and
            Nicole L.
            Oswalt

18-11201-   Robert M.        13   11/20/18   N/A   N/A
TPA         Mruzik

18-11323-   Katie L.         13   12/31/18   N/A   N/A
TPA         Spencer

18-20379-   Larry E.         13   02/01/18   N/A   N/A
GLT         Musgrove

18-20444-   Paul L.          13   02/05/18   N/A   N/A
CMB         Shannon

18-20517-   Leslie E. Pfau   13   02/13/18   N/A   N/A
CMB

18-20754-   Jonathan A.      13   02/28/18   N/A   N/A
CMB         Tompos and
            Michelle L.
            Tompos

18-21151-   Gerald F         13   03/27/18   N/A   N/A
GLT         Schoone and
            Rebecca C.
            Schoone

18-21588-   Neil A.          13   04/23/18   N/A   N/A
GLT         Yetsko and
            Briann L.
            Yetsko

18-21717-   Shawn C.         13   04/30/18   N/A   N/A
JAD         Morris and
            Erin A.
            Morris

18-22330-   Charlese         13   06/08/18   N/A   N/A
CMB         McKinney

18-22503-   Jason G.         13   06/21/18   N/A   N/A
CMB         Zeiler and
            Allison M.
            Zeiler

18-22921-   Matthew          13   07/24/18   N/A   N/A
JAD         Schwindling

18-24230-   Michael H.       13   10/31/18   N/A   N/A
CMB         Neilson and
            Alice L.
            Neilson

19-10011-   Catherine E.     13   01/08/19   N/A   N/A
TPA         Walsh

19-10034-   Bernard          12   01/16/19   N/A   N/A
TPA         Ralph
            Wagner

19-10392-   Leslie D.        13   04/19/19   N/A   N/A
TPA         Owens

19-10561-   Scot M.          13   05/31/19   N/A   N/A
TPA         Walkowski

19-10745-   Kathy A.         13   07/23/19   N/A   N/A
TPA         McVeagh

19-10777-   William A.       13   07/31/19   N/A   N/A
TPA         Trotter

19-10960-   Walter T.    13       09/25/19   N/A   N/A
TPA         Ridgeway and
            Cheryl L.
            Ridgeway

19-10968-   Daniel D.        13   09/26/19   N/A   N/A
TPA         Strong

19-11181-   Katie E. Perry   13   11/27/19   N/A   N/A
TPA
19-11183-   Harold E.       13   11/27/19   N/A   N/A
TPA         Schnabel

19-11212-   Bernadette A.   13   12/06/19   N/A   N/A
TPA         Myers

19-21296-   Nakita N.       13   03/29/19   N/A   N/A
JAD         Tyrrell

19-21298-   Haze L.         13   03/29/19   N/A   N/A
JAD         Spehar

19-21762-   Kelly Lee       13   04/30/19   N/A   N/A
CMB         Presutti

19-22162-   Mark K Pry      13   05/30/19   N/A   N/A
GLT

19-22173-   Deborah L.      13   05/30/19   N/A   N/A
GLT         Murray

19-23462-   William D.      13   08/30/19   N/A   N/A
GLT         Smith and
            Christina M.
            Smith

19-23806-   Robert A.       13   09/30/19   N/A   N/A
CMB         Mariacher
            and Elyse M.
            Mariacher

19-24220-   Scott A.        13   10/30/19   N/A   N/A
CMB         Treadwell

19-24709-   Melanie J.      13   12/05/19   N/A   N/A
CMB         Starkey

19-70252-   William E.      13   04/26/19   N/A   N/A
JAD         Weaver, Jr.
            and Debra L.
            Weaver

20-10035-   Keith G.        13   01/17/20   N/A   N/A
TPA         McIntyre

20-10139-   Brian           13   02/21/20   N/A   N/A
TPA         Nowakowski
            and Lynelle
            R.
            Nowakowski

20-10182-   Clara M.         13   03/04/20   N/A   N/A
TPA         Reagle

20-10319-   William R.       13   04/30/20   N/A   N/A
TPA         Nock

20-10392-   James P.         13   05/29/20   N/A   N/A
TPA         Sweeney

20-10455-   Holly A.         13   06/30/20   N/A   N/A
TPA         Sawatsky

20-10502-   Derek D.         13   07/24/20   N/A   N/A
TPA         Stangle

20-10518-   Robert E.        13   07/31/20   N/A   N/A
TPA         Sweeney, Jr.

20-10529-   Jerry E.         13   08/07/20   N/A   N/A
TPA         Vincent and
            Brenda L.
            Vincent

20-10550-   Jeremy J.        13   08/19/20   N/A   N/A
TPA         Strick and
            Rita J. Strick

20-10577-   Barbara S.       13   08/28/20   N/A   N/A
TPA         Skonieczka

20-10619-   Andrea L.        13   09/16/20   N/A   N/A
TPA         Smelko

20-10739-   Cecil L.         13   11/03/20   N/A   N/A
TPA         Snyder, Jr.

20-10829-   Jeridiah W.      13   12/30/20   N/A   N/A
TPA         Neal

20-22285-   Edward P.        13   07/31/20   N/A   N/A
CMB         Shields and
            Nichole L.
            Shields
20-22516-   Bryan L.        13   08/28/20   N/A   N/A
JAD         Mignogna

21-10042-   Joseph M.       13   01/28/21   N/A   N/A
TPA         Sank

21-10046-   Colleen K.      13   01/28/21   N/A   N/A
TPA         Sallade

21-10238-   Amanda          13   04/30/21   N/A   N/A
TPA         Subasic

21-10407-   Donald R.       13   07/22/21   N/A   N/A
TPA         Snyder, Jr.
            and Nancy R.
            Snyder

21-10696-   Lester A.       13   12/29/21   N/A   N/A
TPA         Villella

21-20153-   Francis H.      13   01/26/21   N/A   N/A
GLT         Vanderloos
            and Annette
            L.Vanderloos

21-20915-   Brandon R.      13   04/16/21   N/A   N/A
GLT         Nobile

21-21161-   Camille F.      13   05/10/21   N/A   N/A
GLT         Sholock

21-21320-   Charles D.      13   06/03/21   N/A   N/A
TPA         Simpson, Jr

21-21510-   David C.        13   06/30/21   N/A   N/A
CMB         Tressler and
            Karan L.
            Tressler

21-21520-   Jenny L.        13   06/30/21   N/A   N/A
CMB         Newingham

21-21930-   Jill C. Woods   13   08/31/21   N/A   N/A
CMB

21-22397-   Gretchen        13   11/04/21   N/A   N/A
GLT         Sobotka
21-22708-   Patricia V.   13   12/27/21   N/A   N/A
GLT         Vogt

22-20265-   Theresia I.   13   02/15/22   N/A   N/A
CMB         Moore

22-20442-   Richard J.    13   03/11/22   N/A   N/A
CMB         Mottura


22-20767-   Mark D.       13   04/25/22   N/A   N/A
JAD         Maldonado
